  Case 2:18-cv-02893-SVW-GJS Document 183 Filed 04/03/19 Page 1 of 4 Page ID #:5008
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                                                                     CENTRAL DISTRICT OF CALIFORNIA
 4                                                                   BY                     DEPUTY

 5                               UNITED.STATES DISTRICT COUP T

 6                              CENTRAL DISTRICT OF CALIFORNIA

 7 Scottsdale Insurance Company,                        Case No. 18-cv- 2893-SVW-GJS
 8           Plaintiff,                                 [~'- ~      ]JUDGMENT
 9
                           v.
10                                                      Hon. Stephen V. Wilson
       Dickstein Shapiro LLP; Certain Underwriters
11     at Lloyd's, London,including Brit UW
12     Limited for and on behalf of Lloyd's Syndicate
       2987, Beazley Furlonge Ltd. for and on behalf
13     of L;loyd's Syndicate 2623, Beazley Furlonge
       Ltd. for and on behalf of Lloyd's Syndicate
14     0623, Faraday Capital Limited for and on
       behalf of Lloyd's Syndicate 0435, Amlin
15     Underwriting Limited for and on behalf of
16     Lloyd's Syndicate 2001, and Renaissance Re
       Group for and on behalf of Lloyd's Syndicate
17     1458; Lexington Insurance Company; and
       Swiss Re International SE —Zurich,
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19           Defendants.

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                                       [PROPOSED]JUDGMENT
 Case 2:18-cv-02893-SVW-GJS Document 183 Filed 04/03/19 Page 2 of 4 Page ID #:5009
     Dickstein Shapiro LLP,
 2         Counter and cross-claimant,
 3                     v.
 4 Scottsdale Insurance Company,
 5         Counter-defendant,
 6                     and
 7 Certain Underwriters at Lloyd's, London,
    including Brit UW Limited for and on behalf
 8 of Lloyd's Syndicate 2987, Beazley Furlonge
    Ltd. for and on behalf of Lloyd's Syndicate
 9 2623, Beazley Furlonge Ltd. for and on behalf
10 of Lloyd's Syndicate 0623, Faraday Capital
    Limited for and on behalf of Lloyd's Syndicate
1 1 0435, Amlin Underwriting Limited for and on
    behalf of Lloyd's Syndicate 2001, and
12 Renaissance Re Group for and on behalf of
    Lloyd's Syndicate 1458; Lexington Insurance
13 Company; and Swiss Re International SE —
14 Zurich,
15         Cross-defendants.

16 Certain Underwriters at Lloyd's, London,
   including Brit UW Limited for and on behalf
17 of Lloyd's Syndicate 2987, Beazley Furlonge
18 Ltd. for and on behalf of Lloyd's Syndicate
   2623, Beazley Furlonge Ltd. for and on behalf
19 of Lloyd's Syndicate 0623, Faraday Capital
   Limited for and on behalf of Lloyd's Syndicate
20 0435, Amlin Underwriting Limited for and on
21 behalf of Lloyd's Syndicate 2001, and
   Renaissance Re Group for and on behalf of
22 Lloyd's Syndicate 1458; Lexington Insurance
   Company; and Swiss Re International SE —
23 Zurich,
24        Counter-claimants,
25                    v.
26 Scottsdale Insurance Company,
27        Counter-defendant.
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                                     [PROPOSED] JUDGMENT
 Case 2:18-cv-02893-SVW-GJS Document 183 Filed 04/03/19 Page 3 of 4 Page ID #:5010
 1         The Court, having granted in part and denied in part the cross-motions for summary
 2 judgment of Plaintiff and Counter-Defendant Scottsdale Insurance Company
 3 ("Scottsdale") and of Defendants and Counter-Plaintiffs Certain Underwriters at Lloyd's,
 4 London,including Brit UW Limited for and on behalf of Lloyd's Syndicate 2987, Beazley
 5 Furlonge Ltd. for and on behalf of Lloyd's Syndicate 2623, Beazley Furlonge Ltd. for and
 6 on behalf of Lloyd's Syndicate 0623, Faraday Capital Limited for and on behalf of
 ~   Lloyd's Syndicate 0435, Amlin Underwriting Limited for and on behalf of Lloyd's
 g   Syndicate 2001, Renaissance Re Group for and on behalf of Lloyd's Syndicate 1458,
 9 Lexington Insurance Company, and Swiss Re International SE —Zurich (collectively
10 ~~Underwriters") by its Order filed March 13, 2019(Dkt. 178), hereby finds and enters
1 1 this JUDGMENT as follows:
12      1. The Primary Claims Made and Reported Lawyers Professional Liability Insurance
13        policy issued by Underwriters to Dickstein Shapiro LLP ("Dickstein"), identified as
14        Policy No. B0621PKIC00212(the "Primary Policy") for the period from December
15        20, 2012 to December 20,2013, has been exhausted by the monies paid by the
16        Underwriters to SFA Group, LLC("SFA") pursuant to the Confidential Settlement
1~        Agreement and General Release executed on December 7, 2017(the"SFA
1g        Settlement Agreement").
19     2, The First Excess Lawyers Professional Liability Insurance policy issued by the
20        Underwriters identified as Policy No. B0621PDIC00312(the "Underwriters First
21        Excess Policy") is eroded by the SFA Settlement Agreement in an amount of
22        $4,501,454.
23     3. The First Excess Lawyers Professional Liability Insurance Policy issued by
24        Scottsdale, via its managing agent Huntersure LLC,identified as Policy No.
25        B0621PDIC00312001 (the "Scottsdale First Excess Policy") and the Underwriters
26        First Excess Policy (collectively, the "First Excess Policy") is the operative
27        insurance policy for Dickstein's defense in the action against Dickstein styled,
~R        Kevin R. McCarthy, as Chapter 7 BankYuptcy TrusteefoY Charles TayloY Muhs v.
                                                 1
                                      [PROPOSED]JUDGMENT
 Case 2:18-cv-02893-SVW-GJS Document 183 Filed 04/03/19 Page 4 of 4 Page ID #:5011
 1            Dickstein ShapiYo LLC &Neal S. Barlia, Index No. 58535/2017(the "Muhs
 2    ~       Action"). A-~o~a;~n~~,          Cnn+t~a~~A    ,,.~~P~ n;,.~~~tP;n Ica ~Qoi „fn;,.U~+v;,,~~~,~ ~,~
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 4        4. Underwriters are not entitled to any monetary contribution from Scottsdale for the
 5            amount of the SFA Settlement Agreement paid from Underwriters First Excess
 6            Policy, and to this extent Scottsdale prevails on Underwriters' claim for equitable
 7            contribution.
 8        5. With respect to the competing claims of Scottsdale (see First Amended Complaint,
 9            Dkt. 14, ¶ 58) and Underwriters (see Counterclaim, Dkt. 54,¶ 72]) concerning their
10            respective responsibility for indemnity of Dickstein in the Muhs Action, the Court:
11                   [_] Enters Judgment in favor of Underwriters that Scottsdale is responsible
12                    for 29.38% of Dickstein's indemnity in the Muhs Action under the Scottsdale
13                    First Excess Policy; or
14                            Determines that since the settlement of the Muhs Action has not yet
15        V           been paid, this issue of indemnity is not ad'udicated in this action and instead
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16                    is left for resolution by the parties outside of this action.
17        6. The Court finds that as between Scottsdale and Underwriters, neither is a prevailing
18            party, and that each will therefore bear their own costs, including attorney's fees if
19            applicable.
20        7. The Court finds that Dickstein is a prevailing party as to Scottsdale, and in that
21            regard is entitled to recovery of its costs in this action.
22            IT IS SO ORDERED AND ADJUDGED.
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~~ DATED:              y /9~                                    — --
                                                                Hon. t hen V. Wilson
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25                                                              United States District Judge
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                                                 [PROPOSED]JUDGMENT
